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                   IN THE UNITED STATES DISTRICT COURT
                    THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

DIMITRIUS THOMAS,          )
                           )
             Plaintiff,    )                      No. 15 cv 06465
                           )
                  v.       )                      Honorable Sharon Johnson Coleman
                           )                      Judge Presiding
MICHAEL EVANS, SCOTT       )
NODINE, WILLIAM SIMESTER,  )
KENNETH NUSHARDT AND DEREK )
JABUREK,                   )
                           )
            Defendants.   )

                          FIRST AMENDED COMPLAINT

      Plaintiff Dimitrius Thomas, by counsel JAMES D. MONTGOMERY AND

ASSOCIATES, LTD., alleges as follows:

                              I.   Jurisdiction And Venue

1.    This is a civil action arising under 42 U.S.C. § 1983. The Court has

jurisdiction under 28 U.S.C. Sections 1331 and 1343 (a) (3).

2.    The Northern District of Illinois is an appropriate venue under 28 U.S.C.

Section 1391 (b) (2) because it is where the events giving rise to this claim occurred.

                                      II.      Parties

3.    Plaintiff, Dimitrius Thomas, is and was at all relevant times mentioned

herein a prisoner of the State of Illinois in the custody of the Illinois Department of

Corrections. He is currently, and was at all relevant times, confined in Stateville

Correctional Center in Crest Hill, Illinois.
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4.    Defendants Michael Evans, Scott Nodine, William Simester, Kenneth

Nushardt, and Derek Jaburek are Correctional Officers of the Illinois Department

of Corrections who, at all times mentioned in this complaint, held the ranks of

prison guard and were assigned to Stateville Correctional Center.

5.    Each defendant is sued in his individual capacity. At all times mentioned in

this complaint, each defendant acted under the color of state law.

                                    III.   Facts

6.    On August 26, 2013, the Stateville Tactical Team, which included Defendants

Evans, Nodine, Simester, Nushardt and Jaburek conducted a shakedown of F

House where Plaintiff Thomas resided.

7.    On August 26, 2013, during the shakedown, Plaintiff, along with the other

inmates housed in F House, were held in the dining hall. Plaintiff Thomas notified

Defendant Evans, who oversaw the shakedown, that he needed to use the restroom

in order to defecate and urinate, but Defendant Evans refused to allow Plaintiff to

use the restroom. Plaintiff then complained due to pain, and Defendant Evans

angrily responded and continued to deny Plaintiff Thomas access to the restroom.

8.    Later that day, Plaintiff Thomas was taken back to his cell after the

shakedown, and was notified by Officer Javier S. Babin that he was being moved

from cell F210 to cell F203.

9.    Plaintiff Thomas requested to speak with Sergeant Seivers, the sergeant over

F house, in order to voice concerns about being transferred to F203 because Plaintiff

Thomas was aware that F203 had a broken window and that he had reason to


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believe that his new cell mate had a highly infectious disease. Plaintiff Thomas

continued to pack his property, and waited at the entrance of cell F 210 for Sergeant

Seivers in order to discuss the transfer.

10.    While waiting for Sgt. Seivers, Plaintiff Thomas was approached by

Defendant Evans.     Defendant Evans asked Plaintiff Thomas if he was going to

comply with the transfer order, and Plaintiff Thomas indicated that he would

comply.

11.    Despite Plaintiff Thomas’ assurance to Defendant Evans that he was going to

comply, Defendant Evans ignored Plaintiff Thomas’ assurance, and without legal

justification, activated and ordered the Stateville Tactical Team to physically

remove Plaintiff Thomas from cell F210. As a result of Defendant Evans’ order,

Defendants Nodine, Simester, Nushardt and Jaburek came to cell F210 to

physically remove Plaintiff Thomas, even though he did not resist or disobey any

orders.

12.    Prior to physically removing Plaintiff Thomas, without justification, from cell

F210, Defendants Nodine, Simester, Nushardt and Jaburek showered Plaintiff

Thomas with a toxic chemical agent, which caused him to choke, caused his skin to

burn, caused his eyes to sting, and caused his breathing to be impeded.

13.    Defendants Nodine, Simester, Nushardt and Jaburek then rushed Plaintiff

Thomas with a shield, which forced Plaintiff Thomas to the back of Cell F210 and

caused his head to slam into the bars of the cell window.           Plaintiff Thomas

sustained serious head injuries including swelling, bruising and lumps to his head.


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14.      Defendants Nodine, Simester, Nushardt and Jaburek then forced Plaintiff

Thomas to the floor and began piling on him. Defendants then proceeded to choke

Plaintiff Thomas around his neck, punch his body, knee and kick his body, and

stomp his body, and the Defendants continued to do so even after Plaintiff Thomas’

hands had been handcuffed behind his back and his legs had been shackled with leg

irons.

15.      Defendants Nodine, Simester, Nushardt and Jaburek then drug Plaintiff

Thomas across the floor of cell F210 all the way to the shower. While in the shower,

Defendants removed Plaintiff Thomas’ clothing by unshackling each limb one at a

time in order to take that portion of his clothing off. Defendants eventually stripped

Plaintiff Thomas completely naked and pinned him to the floor.              Defendants

Nodine, Simester, Nushardt and Jaburek then forced Plaintiff Thomas to his knees,

pinned his head to the wall, and then yanked his ankles from underneath him,

which caused deep lacerations to his knees. As a result, Plaintiff Thomas was left on

his stomach in a hogtied position. Defendants Nodine, Simester, Nushardt and

Jaburek then began to pull Plaintiff Thomas’ thumbs back causing pain, and they

continuously pushed his face against the wall even while he was restrained.

16.      While Plaintiff was still in the shower, Defendant Simester spit onto Plaintiff

Thomas twice.

17.      That same day, Plaintiff was eventually medically treated for the exposure to

the toxic chemical agent forty-five minutes after being exposed to the chemical

agent. He was also treated for the lacerations to his knees.


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18.    Between August 26, 2013 and August 28, 2013, Plaintiff requested medical

treatment for his head injuries and was not seen. Plaintiff Thomas never received

medical treatment for his head injuries, which resulted in headaches and dizziness

for several days after the incident on August 26, 2013.

                        IV.   Exhaustion Of Legal Remedies

19.    Plaintiff Thomas filed a grievance on August 30, 2013 presenting the facts

contained within this complaint. On May 5, 2014, Plaintiff Thomas’ grievance was

denied. On June 4, 2014 Plaintiff appealed to the Administrative Review Board

who remanded his grievance because Plaintiff Thomas did not receive a face to face

meeting regarding his grievance. On February 10, 2015, an amended grievance

report denying Plaintiff Thomas’ grievance was sent back to the Administrative

Review Board, and the grievance was denied by the Administrative Review Board

on February 10, 2015.

                                  V.   Legal Claims

20.    Plaintiff re-alleges and incorporates by reference paragraphs 1-19

21.    Defendant Evans used excessive force against Plaintiff Thomas when he,

without justification, ordered and authorized the activation of the Stateville

Tactical Team to physically remove Plaintiff Thomas from Cell F210, and he failed

to intervene to stop the physical removal and subsequent beating of Plaintiff

Thomas even though he knew there was no legal justification. Defendant Evans’

actions and failure to intervene violated Plaintiff Thomas’ rights under the Eighth




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Amendment to the United States Constitution, and caused Plaintiff Thomas pain,

suffering, physical injury and emotional distress.

22.    Defendants Nodine, Simester, Nushardt and Jaburek used excessive force

against Plaintiff Thomas when they, without legal justification, sprayed him with a

toxic chemical agent, pushed him to the back of cell F210 with a shield, pinned him

to the ground, repeatedly punched him, repeatedly kicked him, choked him,

repeatedly stomped and kneed him, drug him from his cell to the shower, snatched

his ankles from underneath him, pinned his head to the wall, and pulled his thumbs

back. Defendants Nodine, Simester, Nushardt and Jaburek failed to intervene at

any time to stop the excessive force that was being used against Plaintiff Thomas.

Defendants Nodine, Simester, Nushardt and Jaburek’s actions and failure to

intervene violated Plaintiff Thomas’ rights under the Eighth Amendment to the

United States Constitution, and caused Plaintiff Thomas pain, suffering, physical

injury and emotional distress.

23.    Plaintiff Thomas demands trial by jury.

                                 VI.   Prayer For Relief

WHEREFORE, Plaintiff Thomas respectfully prays that this court enter judgment:

24.    Granting Plaintiff compensatory damages, in an amount to be determined by

the trier of fact against each defendant, jointly and severally, and

25.    Granting Plaintiff punitive damages, in an amount to be determined by the

trier of fact against each defendant, jointly and severally.

26.    Plaintiff also seeks the recovery of his costs in this suit, and


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27.    Any additional relief this court deems just, proper, and equitable.



                                 By:    /s/ Daniel Watkins, II ____________________
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